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         EXHIBIT
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                        Discover          Design          Develop           Distribute        Support              Account


App Store                                                                                   Overview    Articles   Guidelines   Submitting




                        App Store Review Guidelines
              Apps are changing the world, enriching peopleʼs lives, and enabling developers like you to
             innovate like never before. As a result, the App Store has grown into an exciting and vibrant
              ecosystem for millions of developers and more than a billion users. Whether you are a first
               time developer or a large team of experienced programmers, we are excited that you are
             creating apps for the App Store and want to help you understand our guidelines so you can
                          be confident your app will get through the review process quickly.




 Introduction
 Before You Submit
                               Introduction
 1. Safety                     The guiding principle of the App Store is simple - we want to provide a safe experience for users
 2. Performance                to get apps and a great opportunity for all developers to be successful. We do this by offering a
 3. Business                   highly curated App Store where every app is reviewed by experts and an editorial team helps
 4. Design                     users discover new apps every day. For everything else there is always the open Internet. If the
 5. Legal                      App Store model and guidelines are not best for your app or business idea thatʼs okay, we
 After You Submit              provide Safari for a great web experience too.

                               On the following pages you will find our latest guidelines arranged into five clear sections:
                               Safety, Performance, Business, Design, and Legal. The App Store is always changing and
                               improving to keep up with the needs of our customers and our products. Your apps should
                               change and improve as well in order to stay on the App Store.

                               A few other points to keep in mind:

                                   We have lots of kids downloading lots of apps. Parental controls work great to protect kids,
                                   but you have to do your part too. So know that weʼre keeping an eye out for the kids.

                                   The App Store is a great way to reach hundreds of millions of people around the world. If you
                                   build an app that you just want to show to family and friends, the App Store isnʼt the best way
                                   to do that. Consider using Xcode to install your app on a device for free or use Ad Hoc
                                   distribution available to Apple Developer Program members. If youʼre just getting started,
                                   learn more about the Apple Developer Program.

                                   We strongly support all points of view being represented on the App Store, as long as the
                                   apps are respectful to users with differing opinions and the quality of the app experience is
                                   great. We will reject apps for any content or behavior that we believe is over the line. What
                                   line, you ask? Well, as a Supreme Court Justice once said, “Iʼll know it when I see it”. And we
                                   think that you will also know it when you cross it.

                                   If you attempt to cheat the system (for example, by trying to trick the review process, steal
                                   user data, copy another developerʼs work, manipulate ratings or App Store discovery) your
                                   apps will be removed from the store and you will be expelled from the Developer Program.
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            You are responsible for making sure everything in your app complies with these guidelines,
            including ad networks, analytics services, and third-party SDKs, so review and choose them
            carefully.

            Some features and technologies that are not generally available to developers may be offered
            as an entitlement for limited use cases. For example, we offer entitlements for CarPlay Audio,
            HyperVisor, and Privileged File Operations. Review our documentation on
            developer.apple.com to learn more about entitlements.

          We hope these guidelines help you sail through the App Review process, and that approvals and
          rejections remain consistent across the board. This is a living document; new apps presenting
          new questions may result in new rules at any time. Perhaps your app will trigger this. We love
          this stuff too, and honor what you do. Weʼre really trying our best to create the best platform in
          the world for you to express your talents and make a living, too.




          Before You Submit
          To help your app approval go as smoothly as possible, review the common missteps listed
          below that can slow down the review process or trigger a rejection. This doesnʼt replace the
          guidelines or guarantee approval, but making sure you can check every item on the list is a good
          start. If your app no longer functions as intended or youʼre no longer actively supporting it, it will
          be removed from the App Store. Learn more about App Store Improvements.

          Make sure you:

            Test your app for crashes and bugs

            Ensure that all app information and metadata is complete and accurate

            Update your contact information in case App Review needs to reach you

            Provide an active demo account and login information, plus any other hardware or resources
            that might be needed to review your app (e.g. login credentials or a sample QR code)

            Enable backend services so that theyʼre live and accessible during review

            Include detailed explanations of non-obvious features and in-app purchases in the App
            Review notes, including supporting documentation where appropriate.

            Check whether your app follows guidance in other documentation, such as:

            Development Guidelines
               UIKit
                AppKit
                WatchKit
                App Extensions
                iOS Data Storage Guidelines
                Apple File System
                App Store Connect Help
                Developer Account Help

            Design Guidelines
               Human Interface Guidelines

            Brand and Marketing Guidelines
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                Marketing Resources and Identity Guidelines
                Apple Pay Marketing Guidelines
                Add to Apple Wallet Guidelines
                Guidelines for Using Apple Trademarks and Copyrights




          1. Safety
          When people install an app from the App Store, they want to feel confident that itʼs safe to do so
          —that the app doesnʼt contain upsetting or offensive content, wonʼt damage their device, and
          isnʼt likely to cause physical harm from its use. Weʼve outlined the major pitfalls below, but if
          youʼre looking to shock and offend people, the App Store isnʼt the right place for your app.

            1.1 Objectionable Content
            Apps should not include content that is offensive, insensitive, upsetting, intended to disgust,
            in exceptionally poor taste, or just plain creepy. Examples of such content include:

               1.1.1 Defamatory, discriminatory, or mean-spirited content, including references or
               commentary about religion, race, sexual orientation, gender, national/ethnic origin, or other
               targeted groups, particularly if the app is likely to humiliate, intimidate, or harm a targeted
               individual or group. Professional political satirists and humorists are generally exempt from
               this requirement.

               1.1.2 Realistic portrayals of people or animals being killed, maimed, tortured, or abused, or
               content that encourages violence. “Enemies” within the context of a game cannot solely
               target a specific race, culture, real government, corporation, or any other real entity.

               1.1.3 Depictions that encourage illegal or reckless use of weapons and dangerous objects,
               or facilitate the purchase of firearms or ammunition.

               1.1.4 Overtly sexual or pornographic material, defined by Websterʼs Dictionary as "explicit
               descriptions or displays of sexual organs or activities intended to stimulate erotic rather
               than aesthetic or emotional feelings."

               1.1.5 Inflammatory religious commentary or inaccurate or misleading quotations of
               religious texts.

               1.1.6 False information and features, including inaccurate device data or trick/joke
               functionality, such as fake location trackers. Stating that the app is “for entertainment
               purposes” wonʼt overcome this guideline. Apps that enable anonymous or prank phone
               calls or SMS/MMS messaging will be rejected.

            1.2 User Generated Content
            Apps with user-generated content present particular challenges, ranging from intellectual
            property infringement to anonymous bullying. To prevent abuse, apps with user-generated
            content or social networking services must include:

               A method for filtering objectionable material from being posted to the app

               A mechanism to report offensive content and timely responses to concerns

               The ability to block abusive users from the service

               Published contact information so users can easily reach you
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            Apps with user-generated content or services that end up being used primarily for
            pornographic content, Chatroulette-style experiences, objectification of real people (e.g.
            “hot-or-not” voting), making physical threats, or bullying do not belong on the App Store and
            may be removed without notice. If your app includes user-generated content from a web-
            based service, it may display incidental mature “NSFW” content, provided that the content is
            hidden by default and only displayed when the user turns it on via your website.

            1.3 Kids Category
            The Kids Category is a great way for people to easily find apps that are designed for children.
            If you want to participate in the Kids Category, you should focus on creating a great
            experience specifically for younger users. These apps must not include links out of the app,
            purchasing opportunities, or other distractions to kids unless reserved for a designated area
            behind a parental gate. Keep in mind that once customers expect your app to follow the Kids
            Category requirements, it will need to continue to meet these guidelines in subsequent
            updates, even if you decide to deselect the category. Learn more about parental gates.

            You must comply with applicable privacy laws around the world relating to the collection of
            data from children online. Be sure to review the Privacy section of these guidelines for more
            information. In addition, Kids Category apps may not send personally identifiable information
            or device information to third parties. Apps in the Kids Category should not include third-
            party analytics or third-party advertising. This provides a safer experience for kids. In limited
            cases, third-party analytics may be permitted provided that the services do not collect or
            transmit the IDFA or any identifiable information about children (such as name, date of birth,
            email address), their location, or their devices. This includes any device, network, or other
            information that could be used directly or combined with other information to identify users
            and their devices. Third-party contextual advertising may also be permitted in limited cases
            provided that the services have publicly documented practices and policies for Kids Category
            apps that include human review of ad creatives for age appropriateness.

            1.4 Physical Harm
            If your app behaves in a way that risks physical harm, we may reject it. For example:

              1.4.1 Medical apps that could provide inaccurate data or information, or that could be used
              for diagnosing or treating patients may be reviewed with greater scrutiny.

                 Apps must clearly disclose data and methodology to support accuracy claims relating to
                 health measurements, and if the level of accuracy or methodology cannot be validated,
                 we will reject your app. For example, apps that claim to take x-rays, measure blood
                 pressure, body temperature, blood glucose levels, or blood oxygen levels using only the
                 sensors on the device are not permitted.

                 Apps should remind users to check with a doctor in addition to using the app and before
                 making medical decisions.

              If your medical app has received regulatory clearance, please submit a link to that
              documentation with your app.

              1.4.2 Drug dosage calculators must come from the drug manufacturer, a hospital,
              university, health insurance company, pharmacy or other approved entity, or receive
              approval by the FDA or one of its international counterparts. Given the potential harm to
              patients, we need to be sure that the app will be supported and updated over the long
              term.

              1.4.3 Apps that encourage consumption of tobacco and vape products, illegal drugs, or
              excessive amounts of alcohol are not permitted on the App Store. Apps that encourage
              minors to consume any of these substances will be rejected. Facilitating the sale of
              marijuana, tobacco, or controlled substances (except for licensed pharmacies) isnʼt
              allowed.
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              1.4.4 Apps may only display DUI checkpoints that are published by law enforcement
              agencies, and should never encourage drunk driving or other reckless behavior such as
              excessive speed.

              1.4.5 Apps should not urge customers to participate in activities (like bets, challenges,
              etc.) or use their devices in a way that risks physical harm to themselves or others.

            1.5 Developer Information
            People need to know how to reach you with questions and support issues. Make sure your
            app and its Support URL include an easy way to contact you; this is particularly important for
            apps that may be used in the classroom. Failure to include accurate and up-to-date contact
            information not only frustrates customers, but may violate the law in some countries. Also
            ensure that Wallet passes include valid contact information from the issuer and are signed
            with a dedicated certificate assigned to the brand or trademark owner of the pass.

            1.6 Data Security
            Apps should implement appropriate security measures to ensure proper handling of user
            information collected pursuant to the Apple Developer Program License Agreement and
            these Guidelines (see Guideline 5.1 for more information) and prevent its unauthorized use,
            disclosure, or access by third parties.




          2. Performance
            2.1 App Completeness
            Submissions to App Review, including apps you make available for pre-order, should be final
            versions with all necessary metadata and fully functional URLs included; placeholder text,
            empty websites, and other temporary content should be scrubbed before submission. Make
            sure your app has been tested on-device for bugs and stability before you submit it, and
            include demo account info (and turn on your back-end service!) if your app includes a login. If
            you offer in-app purchases in your app, make sure they are complete, up-to-date, and visible
            to the reviewer, or that you explain why not in your review notes. Please donʼt treat
            App Review as a software testing service. We will reject incomplete app bundles and binaries
            that crash or exhibit obvious technical problems.

            2.2 Beta Testing
            Demos, betas, and trial versions of your app donʼt belong on the App Store – use TestFlight
            instead. Any app submitted for beta distribution via TestFlight should be intended for public
            distribution and should comply with the App Review Guidelines. Note, however, that apps
            using TestFlight cannot be distributed to testers in exchange for compensation of any kind,
            including as a reward for crowd-sourced funding. Significant updates to your beta build
            should be submitted to TestFlight App Review before being distributed to your testers. To
            learn more, visit the TestFlight Beta Testing.

            2.3 Accurate Metadata
            Customers should know what theyʼre getting when they download or buy your app, so make
            sure your app description, screenshots, and previews accurately reflect the appʼs core
            experience and remember to keep them up-to-date with new versions.

              2.3.1 Donʼt include any hidden, dormant, or undocumented features in your app; your
              appʼs functionality should be clear to end users and App Review. All new features,
              functionality, and product changes must be described with specificity in the Notes for
              Review section of App Store Connect (generic descriptions will be rejected) and
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              accessible for review. Similarly, you should not market your app on the App Store or offline
              as including content or services that it does not actually offer (e.g. iOS-based virus and
              malware scanners). Egregious or repeated behavior is grounds for removal from the
              Developer Program. We work hard to make the App Store a trustworthy ecosystem and
              expect our app developers to follow suit; if youʼre dishonest, we donʼt want to do business
              with you.

              2.3.2 If your app includes in-app purchases, make sure your app description, screenshots,
              and previews clearly indicate whether any featured items, levels, subscriptions, etc. require
              additional purchases. If you decide to promote in-app purchases on the App Store, ensure
              that the in-app purchase Display Name, Screenshot and Description are appropriate for a
              public audience, that you follow the guidance found in Promoting Your In-App Purchases,
              and that your app properly handles the SKPaymentTransactionObserver method so that
              customers can seamlessly complete the purchase when your app launches.

              2.3.3 Screenshots should show the app in use, and not merely the title art, log-in page, or
              splash screen. They may also include text and image overlays (e.g. to demonstrate input
              mechanisms, such as an animated touch point or Apple Pencil) and show extended
              functionality on device, such as Touch Bar.

              2.3.4 Previews are a great way for customers to see what your app looks like and what it
              does. To ensure people understand what theyʼll be getting with your app, previews may
              only use video screen captures of the app itself. Stickers and iMessage extensions may
              show the user experience in the Messages app. You can add narration and video or textual
              overlays to help explain anything that isnʼt clear from the video alone.

              2.3.5 Select the most appropriate category for your app, and check out the App Store
              Category Definitions if you need help. If youʼre way off base, we may change the category
              for you.

              2.3.6 Answer the age rating questions in App Store Connect honestly so that your app
              aligns properly with parental controls. If your app is mis-rated, customers might be
              surprised by what they get, or it could trigger an inquiry from government regulators. If
              your app includes media that requires the display of content ratings or warnings (e.g. films,
              music, games, etc.), you are responsible for complying with local requirements in each
              territory where your app is available.

              2.3.7 Choose a unique app name, assign keywords that accurately describe your app, and
              donʼt try to pack any of your metadata with trademarked terms, popular app names,
              pricing information, or other irrelevant phrases just to game the system. App names must
              be limited to 30 characters and should not include prices, terms, or descriptions that are
              not the name of the app. App subtitles are a great way to provide additional context for
              your app; they must follow our standard metadata rules and should not include
              inappropriate content, reference other apps, or make unverifiable product claims. Apple
              may modify inappropriate keywords at any time or take other appropriate steps to prevent
              abuse.

              2.3.8 Metadata should be appropriate for all audiences, so make sure your app and in-app
              purchase icons, screenshots, and previews adhere to a 4+ age rating even if your app is
              rated higher. For example, if your app is a game that includes violence, select images that
              donʼt depict a gruesome death or a gun pointed at a specific character. Use of terms like
              “For Kids” and “For Children” in app metadata is reserved for the Kids Category.
              Remember to ensure your metadata, including app name and icons (small, large,
              Apple Watch app, alternate icons, etc.), are similar to avoid creating confusion.

              2.3.9 You are responsible for securing the rights to use all materials in your app icons,
              screenshots, and previews, and you should display fictional account information instead of
              data from a real person.
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              2.3.10 Make sure your app is focused on the iOS, Mac, Apple TV or Apple Watch
              experience, and donʼt include names, icons, or imagery of other mobile platforms in your
              app or metadata, unless there is specific, approved interactive functionality. Make sure
              your app metadata is focused on the app itself and its experience. Donʼt include irrelevant
              information, including but not limited to information about Apple or the development
              process.

              2.3.11 Apps you submit for pre-order on the App Store must be complete and deliverable
              as submitted. Ensure that the app you ultimately release is not materially different from
              what you advertise while the app is in a pre-order state. If you make material changes to
              the app (e.g. change business models), you should restart your pre-order sales.

              2.3.12 Apps must clearly describe new features and product changes in their “Whatʼs
              New” text. Simple bug fixes, security updates, and performance improvements may rely on
              a generic description, but more significant changes must be listed in the notes.

            2.4 Hardware Compatibility

              2.4.1 To ensure people get the most out of your app, iPhone apps should run on iPad
              whenever possible. We encourage you to consider building universal apps so customers
              can use them on all of their devices. Learn more about Universal apps.

              2.4.2 Design your app to use power efficiently and be used in a way that does not risk
              damage to the device. Apps should not rapidly drain battery, generate excessive heat, or
              put unnecessary strain on device resources. For example, apps should not encourage
              placing the device under a mattress or pillow while charging or perform excessive write
              cycles to the solid state drive. Apps, including any third-party advertisements displayed
              within them, may not run unrelated background processes, such as cryptocurrency mining.

              2.4.3 People should be able to use your Apple TV app without the need for hardware
              inputs beyond the Siri remote or third-party game controllers, but feel free to provide
              enhanced functionality when other peripherals are connected. If you require a game
              controller, make sure you clearly explain that in your metadata so customers know they
              need additional equipment to play.

              2.4.4 Apps should never suggest or require a restart of the device or modifications to
              system settings unrelated to the core functionality of the application. For example, donʼt
              encourage users to turn off Wi-Fi, disable security features, etc.

              2.4.5 Apps distributed via the Mac App Store have some additional requirements to keep
              in mind:

                (i) They must be appropriately sandboxed, and follow macOS File System
                Documentation. They should also only use the appropriate macOS APIs for modifying
                user data stored by other Apps (e.g. bookmarks, Address Book, or Calendar entries).

                (ii) They must be packaged and submitted using technologies provided in Xcode; no
                third-party installers allowed. They must also be self-contained, single application
                installation bundles and cannot install code or resources in shared locations.

                (iii) They may not auto-launch or have other code run automatically at startup or login
                without consent nor spawn processes that continue to run without consent after a user
                has quit the app. They should not automatically add their icons to the Dock or leave
                short cuts on the user desktop.

                (iv) They may not download or install standalone apps, kexts, additional code, or
                resources to add functionality or significantly change the app from what we see during
                the review process.

                (v) They may not request escalation to root privileges or use setuid attributes.
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                (vi) They may not present a license screen at launch, require license keys, or implement
                their own copy protection.

                (vii) They must use the Mac App Store to distribute updates; other update mechanisms
                are not allowed.

                (viii) Apps should run on the currently shipping OS and may not use deprecated or
                optionally installed technologies (e.g. Java, Rosetta)

                (ix) Apps must contain all language and localization support in a single app bundle.

            2.5 Software Requirements

              2.5.1 Apps may only use public APIs and must run on the currently shipping OS. Learn
              more about public APIs. Keep your apps up-to-date and make sure you phase out any
              deprecated features, frameworks or technologies that will no longer be supported in future
              versions of an OS. Apps should use APIs and frameworks for their intended purposes and
              indicate that integration in their app description. For example, the HomeKit framework
              should provide home automation services; and HealthKit should be used for health and
              fitness purposes and integrate with the Health app.

              2.5.2 Apps should be self-contained in their bundles, and may not read or write data
              outside the designated container area, nor may they download, install, or execute code
              which introduces or changes features or functionality of the app, including other apps.
              Educational apps designed to teach, develop, or allow students to test executable code
              may, in limited circumstances, download code provided that such code is not used for
              other purposes. Such apps must make the source code provided by the Application
              completely viewable and editable by the user.

              2.5.3 Apps that transmit viruses, files, computer code, or programs that may harm or
              disrupt the normal operation of the operating system and/or hardware features, including
              Push Notifications and Game Center, will be rejected. Egregious violations and repeat
              behavior will result in removal from the Developer Program.

              2.5.4 Multitasking apps may only use background services for their intended purposes:
              VoIP, audio playback, location, task completion, local notifications, etc. If your app uses
              location background mode, include a reminder that doing so may dramatically decrease
              battery life.

              2.5.5 Apps must be fully functional on IPv6-only networks.

              2.5.6 Apps that browse the web must use the appropriate WebKit framework and WebKit
              Javascript.

              2.5.7 Video streaming content over a cellular network longer than 10 minutes must use
              HTTP Live Streaming and include a baseline 192 kbps HTTP Live stream.

              2.5.8 Apps that create alternate desktop/home screen environments or simulate multi-app
              widget experiences will be rejected.

              2.5.9 Apps that alter or disable the functions of standard switches, such as the Volume
              Up/Down and Ring/Silent switches, or other native user interface elements or behaviors
              will be rejected. For example, apps should not block links out to other apps or other
              features that users would expect to work a certain way. Learn more about proper handling
              of links.

              2.5.10 Apps should not be submitted with empty ad banners or test advertisements.

              2.5.11 SiriKit and Shortcuts

                (i) Apps integrating SiriKit and Shortcuts should only sign up for intents they can handle
                without the support of an additional app and that users would expect from the stated
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                   functionality. For example, if your app is a meal planning app, you should not
                   incorporate an intent to start a workout, even if the app shares integration with a fitness
                   app.

                   (ii) Ensure that the vocabulary and phrases in your plist pertains to your app and the Siri
                   functionality of the intents the app has registered for. Aliases must relate directly to your
                   app or company name and should not be generic terms or include third-party app
                   names or services.

                   (iii) Resolve the Siri request or Shortcut in the most direct way possible and do not
                   insert ads or other marketing between the request and its fulfillment. Only request a
                   disambiguation when required to complete the task (e.g. asking the user to specify a
                   particular type of workout).

                2.5.12 Apps using CallKit or including an SMS Fraud Extension should only block phone
                numbers that are confirmed spam. Apps that include call-, SMS-, and MMS- blocking
                functionality or spam identification must clearly identify these features in their marketing
                text and explain the criteria for their blocked and spam lists. You may not use the data
                accessed via these tools for any purpose not directly related to operating or improving
                your app or extension (e.g. you may not use, share, or sell it for tracking purposes, creating
                user profiles, etc.).

                2.5.13 Apps using facial recognition for account authentication must use
                LocalAuthentication (and not ARKit or other facial recognition technology) where possible,
                and must use an alternate authentication method for users under 13 years old.

                2.5.14 Apps must request explicit user consent and provide a clear visual and/or audible
                indication when recording, logging, or otherwise making a record of user activity. This
                includes any use of the device camera, microphone, screen recordings, or other user
                inputs.

                2.5.15 Apps that enable users to view and select files should include items from the Files
                app and the userʼs iCloud documents.

                2.5.16 App Clips, widgets, extensions, and notifications should be related to the content
                and functionality of your app. Additionally, all App Clip features and functionality must be
                included in the main app binary. App Clips cannot contain advertising.




           3. Business
           There are many ways to monetize your app on the App Store. If your business model isnʼt
           obvious, make sure to explain in its metadata and App Review notes. If we canʼt understand how
           your app works or your in-app purchases arenʼt immediately obvious, it will delay your review
           and may trigger a rejection. And while pricing is up to you, we wonʼt distribute apps and in-app
           purchase items that are clear rip-offs. Weʼll reject expensive apps that try to cheat users with
           irrationally high prices.

           If we find that you have attempted to manipulate reviews, inflate your chart rankings with paid,
           incentivized, filtered, or fake feedback, or engage with third-party services to do so on your
           behalf, we will take steps to preserve the integrity of the App Store, which may include expelling
           you from the Developer Program.

             3.1 Payments
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              3.1.1 In-App Purchase:
                 If you want to unlock features or functionality within your app, (by way of example:
                 subscriptions, in-game currencies, game levels, access to premium content, or
                 unlocking a full version), you must use in-app purchase. Apps may not use their own
                 mechanisms to unlock content or functionality, such as license keys, augmented reality
                 markers, QR codes, etc. Apps and their metadata may not include buttons, external
                 links, or other calls to action that direct customers to purchasing mechanisms other
                 than in-app purchase.

                Apps may use in-app purchase currencies to enable customers to “tip” digital content
                providers in the app.

                Any credits or in-game currencies purchased via in-app purchase may not expire, and
                you should make sure you have a restore mechanism for any restorable in-app
                purchases.

                Remember to assign the correct purchasability type or your app will be rejected.

                Apps may enable gifting of items that are eligible for in-app purchase to others. Such
                gifts may only be refunded to the original purchaser and may not be exchanged.

                Apps distributed via the Mac App Store may host plug-ins or extensions that are
                enabled with mechanisms other than the App Store.

                Apps offering “loot boxes” or other mechanisms that provide randomized virtual items
                for purchase must disclose the odds of receiving each type of item to customers prior to
                purchase.

                Non-subscription apps may offer a free time-based trial period before presenting a full
                unlock option by setting up a Non-Consumable IAP item at Price Tier 0 that follows the
                naming convention: “XX-day Trial.” Prior to the start of the trial, your app must clearly
                identify its duration, the content or services that will no longer be accessible when the
                trial ends, and any downstream charges the user would need to pay for full functionality.
                Learn more about managing content access and the duration of the trial period using
                Receipts and Device Check.

              3.1.2 Subscriptions: Apps may offer auto-renewing in-app purchase subscriptions,
              regardless of category on the App Store. When incorporating auto-renewable
              subscriptions into your app, be sure to follow the guidelines below.

              3.1.2(a) Permissible uses: If you offer an auto-renewing subscription, you must provide
              ongoing value to the customer, and the subscription period must last at least seven days
              and be available across all of the userʼs devices. While the following list is not exhaustive,
              examples of appropriate subscriptions include: new game levels; episodic content;
              multiplayer support; apps that offer consistent, substantive updates; access to large
              collections of, or continually updated, media content; software as a service (“SAAS”); and
              cloud support. In addition:

                Subscriptions may be offered alongside a la carte offerings (e.g. you may offer a
                subscription to an entire library of films as well the purchase or rental of a single movie).

                You may offer a single subscription that is shared across your own apps and services.
                Games offered in a streaming game service subscription must be downloaded directly
                from the App Store, must be designed to avoid duplicate payment by a subscriber, and
                should not disadvantage non-subscriber customers.

                Subscriptions must work on all of the userʼs devices where the app is available. Learn
                more about sharing a subscription across your apps.
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                Apps must not force users to rate the app, review the app, download other apps, or
                other similar actions in order to access functionality, content, or use of the app.

                As with all apps, those offering subscriptions should allow a user to get what theyʼve
                paid for without performing additional tasks, such as posting on social media, uploading
                contacts, checking in to the app a certain number of times, etc.

                Subscriptions may include consumable credits, gems, in-game currencies, etc., and you
                may offer subscriptions that include access to discounted consumable goods (e.g. a
                platinum membership that exposes gem-packs for a reduced price).

                If you are changing your existing app to a subscription-based business model, you
                should not take away the primary functionality existing users have already paid for. For
                example, let customers who have already purchased a “full game unlock” continue to
                access the full game after you introduce a subscription model for new customers.

                Auto-renewing subscription apps may offer a free trial period to customers by providing
                the relevant information set forth in App Store Connect.

                Apps that attempt to scam users will be removed from the App Store. This includes
                apps that attempt to trick users into purchasing a subscription under false pretenses or
                engage in bait-and-switch and scam practices will be removed from the App Store and
                you may be removed from the Apple Developer Program. Learn more about Subscription
                Free Trials.

                Apps that offer auto-renewing music and video subscriptions with prior approval by
                Apple may also be included in pre-defined bundles with cellular data plans offered in
                cellular carrier apps.

              3.1.2(b) Upgrades and Downgrades: Users should have a seamless upgrade/downgrade
              experience and should not be able to inadvertently subscribe to multiple variations of the
              same thing. Review best practices on managing your subscription upgrade and downgrade
              options.

              3.1.2(c) Subscription Information: Before asking a customer to subscribe, you should
              clearly describe what the user will get for the price. How many issues per month? How
              much cloud storage? What kind of access to your service? Ensure you clearly
              communicate the requirements described in Schedule 2 of the Apple Developer Program
              License Agreement, found in Agreements, Tax, and Banking.

              3.1.3 Other Purchase Methods: The following apps may use purchase methods other than
              in-app purchase. Apps in this section cannot, either within the app or through
              communications sent to points of contact obtained from account registration within the
              app (like email or text), encourage users to use a purchasing method other than in-app
              purchase.

              3.1.3(a) “Reader” Apps: Apps may allow a user to access previously purchased content or
              content subscriptions (specifically: magazines, newspapers, books, audio, music, and
              video). Reader apps may offer account creation for free tiers, and account management
              functionality for existing customers.

              3.1.3(b) Multiplatform Services: Apps that operate across multiple platforms may allow
              users to access content, subscriptions, or features they have acquired in your app on other
              platforms or your web site, including consumable items in multi-platform games, provided
              those items are also available as in-app purchases within the app.

              3.1.3(c) Enterprise Services: If your app is only sold directly by you to organizations or
              groups for their employees or students (for example professional databases and classroom
              management tools), you may use purchase methods in addition to in-app purchase to
              collect those payments. Consumer, single user, or family sales must use in-app purchase.
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              3.1.3(d) Person-to-Person Experiences: If your app enables the purchase of realtime
              person-to-person experiences between two individuals (for example tutoring students,
              medical consultations, real estate tours, or fitness training), you may use purchase
              methods other than in-app purchase to collect those payments. One-to-few and one-to-
              many realtime experiences must use in-app purchase.

              3.1.3(e) Goods and Services Outside of the App: If your app enables people to purchase
              physical goods or services that will be consumed outside of the app, you must use
              purchase methods other than in-app purchase to collect those payments, such as
              Apple Pay or traditional credit card entry.

              3.1.3(f) Free Stand-alone Apps: Free apps acting as a stand-alone companion to a paid
              web based tool (eg. VOIP, Cloud Storage, Email Services, Web Hosting) do not need to use
              in-app purchase, provided there is no purchasing inside the app, or calls to action for
              purchase outside of the app.

              3.1.4 Hardware-Specific Content: In limited circumstances, such as when features are
              dependent upon specific hardware to function, the app may unlock that functionality
              without using in-app purchase (e.g. an astronomy app that adds features when synced
              with a telescope). App features that work in combination with an approved physical
              product (such as a toy) on an optional basis may unlock functionality without using in-app
              purchase, provided that an in-app purchase option is available as well. You may not,
              however, require users to purchase unrelated products or engage in advertising or
              marketing activities to unlock app functionality.

              3.1.5 Cryptocurrencies:

                (i) Wallets: Apps may facilitate virtual currency storage, provided they are offered by
                developers enrolled as an organization.

                (ii) Mining: Apps may not mine for cryptocurrencies unless the processing is performed
                off device (e.g. cloud-based mining).

                (iii) Exchanges: Apps may facilitate transactions or transmissions of cryptocurrency on
                an approved exchange, provided they are offered by the exchange itself.

                (iv) Initial Coin Offerings: Apps facilitating Initial Coin Offerings (“ICOs”), cryptocurrency
                futures trading, and other crypto-securities or quasi-securities trading must come from
                established banks, securities firms, futures commission merchants (“FCM”), or other
                approved financial institutions and must comply with all applicable law.

                (v) Cryptocurrency apps may not offer currency for completing tasks, such as
                downloading other apps, encouraging other users to download, posting to social
                networks, etc.

              3.1.6 Apple Pay: Apps using Apple Pay must provide all material purchase information to
              the user prior to sale of any good or service and must use Apple Pay branding and user
              interface elements correctly, as described in the Apple Pay Identity Guidelines and Human
              Interface Guidelines. Apps using Apple Pay to offer recurring payments must, at a
              minimum, disclose the following information:

                The length of the renewal term and the fact that it will continue until canceled

                What will be provided during each period

                The actual charges that will be billed to the customer

                How to cancel

              3.1.7 Advertising: Display advertising should be limited to your main app executable, and
              should not be included in extensions, App Clips, widgets, notifications, keyboards,
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              watchOS apps, etc. Ads displayed in an app must be appropriate for the appʼs age rating,
              allow the user to see all information used to target them for that ad (without requiring the
              user to leave the app), and may not engage in targeted or behavioral advertising based on
              sensitive user data such as health/medical data (e.g. from the HealthKit APIs), school and
              classroom data (e.g. from ClassKit), or from kids (e.g. from apps in the Kids Category), etc.
              Interstitial ads or ads that interrupt or block the user experience must clearly indicate that
              they are an ad, must not manipulate or trick users into tapping into them, and must provide
              easily accessible and visible close/skip buttons large enough for people to easily dismiss
              the ad.

            3.2 Other Business Model Issues
            The lists below are not exhaustive, and your submission may trigger a change or update to
            our policies, but here are some additional dos and donʼts to keep in mind:

              3.2.1 Acceptable

                 (i) Displaying your own apps for purchase or promotion within your app, provided the
                 app is not merely a catalog of your apps.

                 (ii) Displaying or recommending a collection of third-party apps that are designed for a
                 specific approved need (e.g. health management, aviation, accessibility). Your app
                 should provide robust editorial content so that it doesnʼt seem like a mere storefront.

                 (iii) Disabling access to specific approved rental content (e.g. films, television programs,
                 music, books) after the rental period has expired; all other items and services may not
                 expire.

                 (iv) Wallet passes can be used to make or receive payments, transmit offers, or offer
                 identification (such as movie tickets, coupons, and VIP credentials). Other uses may
                 result in the rejection of the app and the revocation of Wallet credentials.

                 (v) Insurance apps must be free, in legal-compliance in the regions distributed, and
                 cannot use in-app purchase.

                 (vi) Approved nonprofits may fundraise directly within their own apps or third-party
                 apps, provided those fundraising campaigns adhere to all App Review Guidelines and
                 offer Apple Pay support. These apps must disclose how the funds will be used, abide by
                 all required local and federal laws, and ensure appropriate tax receipts are available to
                 donors. Additional information shall be provided to App Review upon request. Nonprofit
                 platforms that connect donors to other nonprofits must ensure that every nonprofit
                 listed in the app has also gone through the nonprofit approval process. Learn more
                 about becoming an approved nonprofit.

                 (vii) Apps may enable individual users to give a monetary gift to another individual
                 without using in-app purchase, provided that (a) the gift is a completely optional choice
                 by the giver, and (b) 100% of the funds go to the receiver of the gift. However, a gift that
                 is connected to or associated at any point in time with receiving digital content or
                 services must use in-app purchase.

                 (viii) Apps used for financial trading, investing, or money management should come
                 from the financial institution performing such services or must use a public API offered
                 by the institution in compliance with its Terms & Conditions.

              3.2.2 Unacceptable

                 (i) Creating an interface for displaying third-party apps, extensions, or plug-ins similar
                 to the App Store or as a general-interest collection.

                 (ii) Monetizing built-in capabilities provided by the hardware or operating system, such
                 as Push Notifications, the camera, or the gyroscope; or Apple services, such as
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                  Apple Music access or iCloud storage.

                  (iii) Artificially increasing the number of impressions or click-throughs of ads, as well as
                  apps that are designed predominantly for the display of ads.

                  (iv) Unless you are an approved nonprofit or otherwise permitted under Section 3.2.1
                  (vi) above, collecting funds within the app for charities and fundraisers. Apps that seek
                  to raise money for such causes must be free on the App Store and may only collect
                  funds outside of the app, such as via Safari or SMS.

                  (v) Arbitrarily restricting who may use the app, such as by location or carrier.

                  (vi) Apps should allow a user to get what theyʼve paid for without performing additional
                  tasks, such as posting on social media, uploading contacts, checking in to the app a
                  certain number of times, etc. Apps should not require users to rate the app, review the
                  app, watch videos, download other apps, tap on advertisements, enable tracking, or
                  take other similar actions in order to access functionality, content, use the app, or
                  receive monetary or other compensation, including but not limited to gift cards and
                  codes.

                  (vii) Artificially manipulating a userʼs visibility, status, or rank on other services unless
                  permitted by that serviceʼs Terms and Conditions.

                  (viii) Apps that facilitate binary options trading are not permitted on the App Store.
                  Consider a web app instead. Apps that facilitate trading in contracts for difference
                  (“CFDs”) or other derivatives (e.g. FOREX) must be properly licensed in all jurisdictions
                  where the service is available.

                  (ix) Apps must not force users to rate the app, review the app, download other apps, or
                  perform other similar actions in order to access functionality, content, or use of the app.

                  (x) Apps offering personal loans must clearly and conspicuously disclose all loan terms,
                  including but not limited to equivalent maximum Annual Percentage Rate (APR) and
                  payment due date. Apps may not charge a maximum APR higher than 36%, including
                  costs and fees, and may not require repayment in full in 60 days or less.




           4. Design
           Apple customers place a high value on products that are simple, refined, innovative, and easy to
           use, and thatʼs what we want to see on the App Store. Coming up with a great design is up to
           you, but the following are minimum standards for approval to the App Store. And remember that
           even after your app has been approved, you should update your app to ensure it remains
           functional and engaging to new and existing customers. Apps that stop working or offer a
           degraded experience may be removed from the App Store at any time.

             4.1 Copycats
             Come up with your own ideas. We know you have them, so make yours come to life. Donʼt
             simply copy the latest popular app on the App Store, or make some minor changes to another
             appʼs name or UI and pass it off as your own. In addition to risking an intellectual property
             infringement claim, it makes the App Store harder to navigate and just isnʼt fair to your fellow
             developers.

             4.2 Minimum Functionality
             Your app should include features, content, and UI that elevate it beyond a repackaged
             website. If your app is not particularly useful, unique, or “app-like,” it doesnʼt belong on the
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            App Store. If your App doesnʼt provide some sort of lasting entertainment value, it may not be
            accepted. Apps that are simply a song or movie should be submitted to the iTunes Store.
            Apps that are simply a book or game guide should be submitted to the Apple Books Store.

              4.2.1 Apps using ARKit should provide rich and integrated augmented reality experiences;
              merely dropping a model into an AR view or replaying animation is not enough.

              4.2.2 Other than catalogs, apps shouldnʼt primarily be marketing materials,
              advertisements, web clippings, content aggregators, or a collection of links.

              4.2.3

                 (i) Your app should work on its own without requiring installation of another app to
                 function.

                 (ii) Make sure you include sufficient content in the binary for the app to function at
                 launch.

                 (iii) If your app needs to download additional resources, disclose the size of the
                 download and prompt users before doing so.

              4.2.4 Apple Watch apps that appear to be a watch face are confusing, because people will
              expect them to work with device features such as swipes, notifications, and third-party
              complications. Creative ways of expressing time as an app interface is great (say, a tide
              clock for surfers), but if your app comes too close to resembling a watch face, we will
              reject it.

              4.2.5 Apps that are primarily iCloud and iCloud Drive file managers need to include
              additional app functionality to be approved.

              4.2.6 Apps created from a commercialized template or app generation service will be
              rejected unless they are submitted directly by the provider of the appʼs content. These
              services should not submit apps on behalf of their clients and should offer tools that let
              their clients create customized, innovative apps that provide unique customer experiences.
              Another acceptable option for template providers is to create a single binary to host all
              client content in an aggregated or “picker” model, for example as a restaurant finder app
              with separate customized entries or pages for each client restaurant, or as an event app
              with separate entries for each client event.

              4.2.7 Remote Desktop Clients: If your remote desktop app acts as a mirror of specific
              software or services rather than a generic mirror of the host device, it must comply with
              the following:

                 (a) The app must only connect to a user-owned host device that is a personal computer
                 or dedicated game console owned by the user, and both the host device and client must
                 be connected on a local and LAN-based network.

                 (b) Any software or services appearing in the client are fully executed on the host
                 device, rendered on the screen of the host device, and may not use APIs or platform
                 features beyond what is required to stream the Remote Desktop.

                 (c) All account creation and management must be initiated from the host device.

                 (d) The UI appearing on the client does not resemble an iOS or App Store view, does not
                 provide a store-like interface, or include the ability to browse, select, or purchase
                 software not already owned or licensed by the user. For the sake of clarity, transactions
                 taking place within mirrored software do not need to use in-app purchase, provided the
                 transactions are processed on the host device.

                 (e) Thin clients for cloud-based apps are not appropriate for the App Store.
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            4.3 Spam
            Donʼt create multiple Bundle IDs of the same app. If your app has different versions for
            specific locations, sports teams, universities, etc., consider submitting a single app and
            provide the variations using in-app purchase. Also avoid piling on to a category that is already
            saturated; the App Store has enough fart, burp, flashlight, fortune telling, dating, and Kama
            Sutra apps, etc. already. We will reject these apps unless they provide a unique, high-quality
            experience. Spamming the store may lead to your removal from the Developer Program.

            4.4 Extensions
            Apps hosting or containing extensions must comply with the App Extension Programming
            Guide or the Safari App Extensions Guide and should include some functionality, such as help
            screens and settings interfaces where possible. You should clearly and accurately disclose
            what extensions are made available in the appʼs marketing text, and the extensions may not
            include marketing, advertising, or in-app purchases.

              4.4.1 Keyboard extensions have some additional rules.
              They must:

                 Provide keyboard input functionality (e.g. typed characters);

                 Follow Sticker guidelines if the keyboard includes images or emoji;

                 Provide a method for progressing to the next keyboard;

                 Remain functional without full network access and without requiring full access;

                 Collect user activity only to enhance the functionality of the userʼs keyboard extension
                 on the iOS device.

              They must not:

                 Launch other apps besides Settings; or

                 Repurpose keyboard buttons for other behaviors (e.g. holding down the “return” key to
                 launch the camera).

              4.4.2 Safari extensions must run on the current version of Safari on macOS. They may not
              interfere with System or Safari UI elements and must never include malicious or misleading
              content or code. Violating this rule will lead to removal from the Developer Program. Safari
              extensions should not claim access to more websites than strictly necessary to function.

              4.4.3 Stickers
              Stickers are a great way to make Messages more dynamic and fun, letting people express
              themselves in clever, funny, meaningful ways. Whether your app contains a sticker
              extension or youʼre creating free-standing sticker packs, its content shouldnʼt offend
              users, create a negative experience, or violate the law.

                 (i) In general, if it wouldnʼt be suitable for the App Store, it doesnʼt belong in a sticker.

                 (ii) Consider regional sensitivities, and do not make your sticker pack available in a
                 country where it could be poorly received or violate local law.

                 (iii) If we donʼt understand what your stickers mean, include a clear explanation in your
                 review notes to avoid any delays in the review process.

                 (iv) Ensure your stickers have relevance beyond your friends and family; they should not
                 be specific to personal events, groups, or relationships.

                 (v) You must have all the necessary copyright, trademark, publicity rights, and
                 permissions for the content in your stickers, and shouldnʼt submit anything unless
                 youʼre authorized to do so. Keep in mind that you must be able to provide verifiable
                 documentation upon request. Apps with sticker content you donʼt have rights to use will
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                be removed from the App Store and repeat offenders will be removed from the
                Developer Program. If you believe your content has been infringed by another provider,
                submit a claim here.

            4.5 Apple Sites and Services

              4.5.1 Apps may use approved Apple RSS feeds such as the iTunes Store RSS feed, but
              may not scrape any information from Apple sites (e.g. apple.com, the iTunes Store,
              App Store, App Store Connect, developer portal, etc.) or create rankings using this
              information.

              4.5.2 Apple Music

                (i) MusicKit on iOS lets users play Apple Music and their local music library natively from
                your apps and games. When a user provides permission to their Apple Music account,
                your app can create playlists, add songs to their library, and play any of the millions of
                songs in the Apple Music catalog. Users must initiate the playback of an Apple Music
                stream and be able to navigate using standard media controls such as “play,” “pause,”
                and “skip.” Moreover, your app may not require payment or indirectly monetize access
                to the Apple Music service (e.g. in-app purchase, advertising, requesting user info,
                etc.). Do not download, upload, or enable sharing of music files sourced from the
                MusicKit APIs, except as explicitly permitted in MusicKit documentation.

                (ii) Using the MusicKit APIs is not a replacement for securing the licenses you might
                need for a deeper or more complex music integration. For example, if you want your app
                to play a specific song at a particular moment, or to create audio or video files that can
                be shared to social media, youʼll need to contact rights-holders directly to get their
                permission (e.g. synchronization or adaptation rights) and assets. Cover art and other
                metadata may only be used in connection with music playback or playlists (including
                App Store screenshots displaying your appʼs functionality), and should not be used in
                any marketing or advertising without getting specific authorization from rights-holders.
                Make sure to follow the Apple Music Identity Guidelines when integrating Apple Music
                services in your app.

                (iii) Apps that access Apple Music user data, such as playlists and favorites, must
                clearly disclose this access in the purpose string. Any data collected may not be shared
                with third parties for any purpose other than supporting or improving the app
                experience. This data may not be used to identify users or devices, or to target
                advertising.

              4.5.3 Do not use Apple Services to spam, phish, or send unsolicited messages to
              customers, including Game Center, Push Notifications, etc. Do not attempt to reverse
              lookup, trace, relate, associate, mine, harvest, or otherwise exploit Player IDs, aliases, or
              other information obtained through Game Center, or you will be removed from the
              Developer Program.

              4.5.4 Push Notifications must not be required for the app to function, and should not be
              used to send sensitive personal or confidential information. Push Notifications should not
              be used for promotions or direct marketing purposes unless customers have explicitly
              opted in to receive them via consent language displayed in your appʼs UI, and you provide
              a method in your app for a user to opt out from receiving such messages. Abuse of these
              services may result in revocation of your privileges.

              4.5.5 Only use Game Center Player IDs in a manner approved by the Game Center terms
              and do not display them in the app or to any third party.

              4.5.6 Apps may use Unicode characters that render as Apple emoji in their app and app
              metadata. Apple emoji may not be used on other platforms or embedded directly in your
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              app binary.

            4.6 Alternate App Icons
            Apps may display customized icons, for example, to reflect a sports team preference,
            provided that each change is initiated by the user and the app includes settings to revert to
            the original icon. All icon variants must relate to the content of the app and changes should
            be consistent across all system assets, so that the icons displayed in Settings, Notifications,
            etc. match the new springboard icon. This feature may not be used for dynamic, automatic,
            or serial changes, such as to reflect up-to-date weather information, calendar notifications,
            etc.

            4.7 HTML5 Games, Bots, etc.
            Apps may contain or run code that is not embedded in the binary (e.g. HTML5-based games,
            bots, etc.), as long as code distribution isnʼt the main purpose of the app, the code is not
            offered in a store or store-like interface, and provided that the software (1) is free or
            purchased using in-app purchase; (2) only uses capabilities available in a standard WebKit
            view (e.g. it must open and run natively in Safari without modifications or additional
            software); your app must use WebKit and JavaScript Core to run third-party software and
            should not attempt to extend or expose native platform APIs to third-party software; (3) is
            offered by developers that have joined the Apple Developer Program and signed the
            Apple Developer Program License Agreement; (4) does not provide access to real money
            gaming, lotteries, or charitable donations; (5) adheres to the terms of these App Review
            Guidelines (e.g. does not include objectionable content); and (6) does not offer digital goods
            or services for sale. Upon request, you must provide an index of software and metadata
            available in your app. It must include Apple Developer Program Team IDs for the providers of
            the software along with a URL which App Review can use to confirm that the software
            complies with the requirements above.

            4.8 Sign in with Apple
            Apps that use a third-party or social login service (such as Facebook Login, Google Sign-In,
            Sign in with Twitter, Sign In with LinkedIn, Login with Amazon, or WeChat Login) to set up or
            authenticate the userʼs primary account with the app must also offer Sign in with Apple as an
            equivalent option. A userʼs primary account is the account they establish with your app for
            the purposes of identifying themselves, signing in, and accessing your features and
            associated services.

            Sign in with Apple is not required if:

              Your app exclusively uses your companyʼs own account setup and sign-in systems.

              Your app is an education, enterprise, or business app that requires the user to sign in with
              an existing education or enterprise account.

              Your app uses a government or industry-backed citizen identification system or electronic
              ID to authenticate users.

              Your app is a client for a specific third-party service and users are required to sign in to
              their mail, social media, or other third-party account directly to access their content.

            4.9 Streaming games
            Streaming games are permitted so long as they adhere to all guidelines — for example, each
            game update must be submitted for review, developers must provide appropriate metadata
            for search, games must use in-app purchase to unlock features or functionality, etc. Of
            course, there is always the open Internet and web browser apps to reach all users outside of
            the App Store.

              4.9.1 Each streaming game must be submitted to the App Store as an individual app so
              that it has an App Store product page, appears in charts and search, has user ratings and
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                review, can be managed with ScreenTime and other parental control apps, appears on the
                userʼs device, etc.

                4.9.2 Streaming game services may offer a catalog app on the App Store to help users
                sign up for the service and find the games on the App Store, provided that the app
                adheres to all guidelines, including offering users the option to pay for a subscription with
                in-app purchase and use Sign in with Apple. All the games included in the catalog app
                must link to an individual App Store product page.




           5. Legal
           Apps must comply with all legal requirements in any location where you make them available (if
           youʼre not sure, check with a lawyer). We know this stuff is complicated, but it is your
           responsibility to understand and make sure your app conforms with all local laws, not just the
           guidelines below. And of course, apps that solicit, promote, or encourage criminal or clearly
           reckless behavior will be rejected. In extreme cases, such as apps that are found to facilitate
           human trafficking and/or the exploitation of children, appropriate authorities will be notified.

             5.1 Privacy
             Protecting user privacy is paramount in the Apple ecosystem, and you should use care when
             handling personal data to ensure youʼve complied with privacy best practices, applicable laws
             and the terms of the Apple Developer Program License Agreement, not to mention customer
             expectations. More particularly:

                5.1.1 Data Collection and Storage

                  (i) Privacy Policies: All apps must include a link to their privacy policy in the
                  App Store Connect metadata field and within the app in an easily accessible manner.
                  The privacy policy must clearly and explicitly:
                      Identify what data, if any, the app/service collects, how it collects that data, and all
                      uses of that data.

                     Confirm that any third party with whom an app shares user data (in compliance with
                     these Guidelines) — such as analytics tools, advertising networks and third-party
                     SDKs, as well as any parent, subsidiary or other related entities that will have access
                     to user data — will provide the same or equal protection of user data as stated in the
                     appʼs privacy policy and required by these Guidelines.

                     Explain its data retention/deletion policies and describe how a user can revoke
                     consent and/or request deletion of the userʼs data.

                  (ii) Permission Apps that collect user or usage data must secure user consent for the
                  collection, even if such data is considered to be anonymous at the time of or
                  immediately following collection. Paid functionality must not be dependent on or require
                  a user to grant access to this data. Apps must also provide the customer with an easily
                  accessible and understandable way to withdraw consent. Ensure your purpose strings
                  clearly and completely describe your use of the data. Apps that collect data for a
                  legitimate interest without consent by relying on the terms of the European Unionʼs
                  General Data Protection Regulation (“GDPR”) or similar statute must comply with all
                  terms of that law. Learn more about Requesting Permission.

                  (iii) Data Minimization: Apps should only request access to data relevant to the core
                  functionality of the app and should only collect and use data that is required to
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                accomplish the relevant task. Where possible, use the out-of-process picker or a share
                sheet rather than requesting full access to protected resources like Photos or Contacts.

                (iv) Access Apps must respect the userʼs permission settings and not attempt to
                manipulate, trick, or force people to consent to unnecessary data access. For example,
                apps that include the ability to post photos to a social network must not also require
                microphone access before allowing the user to upload photos. Where possible, provide
                alternative solutions for users who donʼt grant consent. For example, if a user declines
                to share Location, offer the ability to manually enter an address.

                (v) Account Sign-In: If your app doesnʼt include significant account-based features, let
                people use it without a log-in. Apps may not require users to enter personal information
                to function, except when directly relevant to the core functionality of the app or required
                by law. If your core app functionality is not related to a specific social network (e.g.
                Facebook, WeChat, Weibo, Twitter, etc.), you must provide access without a login or via
                another mechanism. Pulling basic profile information, sharing to the social network, or
                inviting friends to use the app are not considered core app functionality. The app must
                also include a mechanism to revoke social network credentials and disable data access
                between the app and social network from within the app. An app may not store
                credentials or tokens to social networks off of the device and may only use such
                credentials or tokens to directly connect to the social network from the app itself while
                the app is in use.

                (vi) Developers that use their apps to surreptitiously discover passwords or other
                private data will be removed from the Developer Program.

                (vii) SafariViewController must be used to visibly present information to users; the
                controller may not be hidden or obscured by other views or layers. Additionally, an app
                may not use SafariViewController to track users without their knowledge and consent.

                (viii) Apps that compile personal information from any source that is not directly from
                the user or without the userʼs explicit consent, even public databases, are not permitted
                on the App Store.

                (ix) Apps that provide services in highly-regulated fields (such as banking and financial
                services, healthcare, and air travel) or that require sensitive user information should be
                submitted by a legal entity that provides the services, and not by an individual
                developer.

              5.1.2 Data Use and Sharing

                (i) Unless otherwise permitted by law, you may not use, transmit, or share someoneʼs
                personal data without first obtaining their permission. You must provide access to
                information about how and where the data will be used. Data collected from apps may
                only be shared with third parties to improve the app or serve advertising (in compliance
                with the Apple Developer Program License Agreement). Apps that share user data
                without user consent or otherwise complying with data privacy laws may be removed
                from sale and may result in your removal from the Apple Developer Program.

                (ii) Data collected for one purpose may not be repurposed without further consent
                unless otherwise explicitly permitted by law.

                (iii) Apps should not attempt to surreptitiously build a user profile based on collected
                data and may not attempt, facilitate, or encourage others to identify anonymous users
                or reconstruct user profiles based on data collected from Apple-provided APIs or any
                data that you say has been collected in an “anonymized,” “aggregated,” or otherwise
                non-identifiable way.
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                (iv) Do not use information from Contacts, Photos, or other APIs that access user data
                to build a contact database for your own use or for sale/distribution to third parties, and
                donʼt collect information about which other apps are installed on a userʼs device for the
                purposes of analytics or advertising/marketing.

                (v) Do not contact people using information collected via a userʼs Contacts or Photos,
                except at the explicit initiative of that user on an individualized basis; do not include a
                Select All option or default the selection of all contacts. You must provide the user with
                a clear description of how the message will appear to the recipient before sending it
                (e.g. What will the message say? Who will appear to be the sender?).

                (vi) Data gathered from the HomeKit API, HealthKit, Clinical Health Records API,
                MovementDisorder APIs, ClassKit or from depth and/or facial mapping tools (e.g. ARKit,
                Camera APIs, or Photo APIs) may not be used for marketing, advertising or use-based
                data mining, including by third parties. Learn more about best practices for
                implementing CallKit, HealthKit, ClassKit, and ARKit.

                (vii) Apps using Apple Pay may only share user data acquired via Apple Pay with third
                parties to facilitate or improve delivery of goods and services.

              5.1.3 Health and Health Research
              Health, fitness, and medical data are especially sensitive and apps in this space have some
              additional rules to make sure customer privacy is protected:

                (i) Apps may not use or disclose to third parties data gathered in the health, fitness, and
                medical research context—including from the Clinical Health Records API, HealthKit API,
                Motion and Fitness, MovementDisorderAPIs, or health-related human subject research
                —for advertising, marketing, or other use-based data mining purposes other than
                improving health management, or for the purpose of health research, and then only with
                permission. Apps may, however, use a userʼs health or fitness data to provide a benefit
                directly to that user (such as a reduced insurance premium), provided that the app is
                submitted by the entity providing the benefit, and the data is not be shared with a third
                party. You must disclose the specific health data that you are collecting from the device.

                (ii) Apps must not write false or inaccurate data into HealthKit or any other medical
                research or health management apps, and may not store personal health information in
                iCloud.

                (iii) Apps conducting health-related human subject research must obtain consent from
                participants or, in the case of minors, their parent or guardian. Such consent must
                include the (a) nature, purpose, and duration of the research; (b) procedures, risks, and
                benefits to the participant; (c) information about confidentiality and handling of data
                (including any sharing with third parties); (d) a point of contact for participant questions;
                and (e) the withdrawal process.

                (iv) Apps conducting health-related human subject research must secure approval from
                an independent ethics review board. Proof of such approval must be provided upon
                request.

              5.1.4 Kids
              For many reasons, it is critical to use care when dealing with personal data from kids, and
              we encourage you to carefully review all the requirements for complying with laws like the
              Childrenʼs Online Privacy Protection Act (“COPPA”), the European Unionʼs General Data
              Protection Regulation (“GDPR”), and any other applicable regulations or laws.

              Apps may ask for birthdate and parental contact information only for the purpose of
              complying with these statutes, but must include some useful functionality or
              entertainment value regardless of a personʼs age.
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              Apps intended primarily for kids should not include third-party analytics or third-party
              advertising. This provides a safer experience for kids. In limited cases, third-party analytics
              and third-party advertising may be permitted provided that the services adhere to the
              same terms set forth in Guideline 1.3.

              Moreover, apps in the Kids Category or those that collect, transmit, or have the capability
              to share personal information (e.g. name, address, email, location, photos, videos,
              drawings, the ability to chat, other personal data, or persistent identifiers used in
              combination with any of the above) from a minor must include a privacy policy and must
              comply with all applicable childrenʼs privacy statutes. For the sake of clarity, the parental
              gate requirement for the Kidʼs Category is generally not the same as securing parental
              consent to collect personal data under these privacy statutes.

              As a reminder, Guideline 2.3.8 requires that use of terms like “For Kids” and “For Children”
              in app metadata is reserved for the Kids Category. Apps not in the Kids Category cannot
              include any terms in app name, subtitle, icon, screenshots or description that imply the
              main audience for the app is children.

              5.1.5 Location Services
              Use Location services in your app only when it is directly relevant to the features and
              services provided by the app. Location-based APIs shouldnʼt be used to provide
              emergency services or autonomous control over vehicles, aircraft, and other devices,
              except for small devices such as lightweight drones and toys, or remote control car alarm
              systems, etc. Ensure that you notify and obtain consent before collecting, transmitting, or
              using location data. If your app uses location services, be sure to explain the purpose in
              your app; refer to the Human Interface Guidelines for best practices on doing so.

            5.2 Intellectual Property
            Make sure your app only includes content that you created or that you have a license to use.
            Your app may be removed if youʼve stepped over the line and used content without
            permission. Of course, this also means someone elseʼs app may be removed if theyʼve
            “borrowed” from your work. If you believe your intellectual property has been infringed by
            another developer on the App Store, submit a claim via our web form. Laws differ in different
            countries, but at the very least, make sure to avoid the following common errors:

              5.2.1 Generally: Donʼt use protected third-party material such as trademarks, copyrighted
              works, or patented ideas in your app without permission, and donʼt include misleading,
              false, or copycat representations, names, or metadata in your app bundle or developer
              name. Apps should be submitted by the person or legal entity that owns or has licensed
              the intellectual property and other relevant rights.

              5.2.2 Third-Party Sites/Services: If your app uses, accesses, monetizes access to, or
              displays content from a third-party service, ensure that you are specifically permitted to
              do so under the serviceʼs terms of use. Authorization must be provided upon request.

              5.2.3 Audio/Video Downloading: Apps should not facilitate illegal file sharing or include the
              ability to save, convert, or download media from third-party sources (e.g. Apple Music,
              YouTube, SoundCloud, Vimeo, etc.) without explicit authorization from those sources.
              Streaming of audio/video content may also violate Terms of Use, so be sure to check
              before your app accesses those services. Documentation must be provided upon request.

              5.2.4 Apple Endorsements: Donʼt suggest or imply that Apple is a source or supplier of the
              App, or that Apple endorses any particular representation regarding quality or functionality.
              If your app is selected as an “Editorʼs Choice,” Apple will apply the badge automatically.

              5.2.5 Apple Products: Donʼt create an app that appears confusingly similar to an existing
              Apple product, interface (e.g. Finder), app (such as the App Store, iTunes Store, or
              Messages) or advertising theme. Apps and extensions, including third-party keyboards
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              and Sticker packs, may not include Apple emoji. iTunes music previews may not be used
              for their entertainment value (e.g. as the background music to a photo collage or the
              soundtrack to a game) or in any other unauthorized manner. If your app displays Activity
              rings, they should not visualize Move, Exercise, or Stand data in a way that resembles the
              Activity control. The Human Interface Guidelines have more information on how to use
              Activity rings.

            5.3 Gaming, Gambling, and Lotteries
            Gambling, gaming, and lotteries can be tricky to manage and tend to be one of the most
            regulated offerings on the App Store. Only include this functionality if youʼve fully vetted your
            legal obligations everywhere you make your app available and are prepared for extra time
            during the review process. Some things to keep in mind:

              5.3.1 Sweepstakes and contests must be sponsored by the developer of the app.

              5.3.2 Official rules for sweepstakes, contests, and raffles must be presented in the app
              and make clear that Apple is not a sponsor or involved in the activity in any manner.

              5.3.3 Apps may not use in-app purchase to purchase credit or currency for use in
              conjunction with real money gaming of any kind, and may not enable people to purchase
              lottery or raffle tickets or initiate fund transfers in the app.

              5.3.4 Apps that offer real money gaming (e.g. sports betting, poker, casino games, horse
              racing) or lotteries must have necessary licensing and permissions in the locations where
              the App is used, must be geo-restricted to those locations, and must be free on the
              App Store. Illegal gambling aids, including card counters, are not permitted on the
              App Store. Lottery apps must have consideration, chance, and a prize.

            5.4 VPN Apps
            Apps offering VPN services must utilize the NEVPNManager API and may only be offered by
            developers enrolled as an organization. You must make a clear declaration of what user data
            will be collected and how it will be used on an app screen prior to any user action to purchase
            or otherwise use the service. Apps offering VPN services may not sell, use, or disclose to
            third parties any data for any purpose, and must commit to this in their privacy policy. VPN
            apps must not violate local laws, and if you choose to make your VPN app available in a
            territory that requires a VPN license, you must provide your license information in the App
            Review Notes field. Parental control, content blocking, and security apps, among others, from
            approved providers may also use the NEVPNManager API. Apps that do not comply with this
            guideline will be removed from the App Store and you may be removed from the
            Apple Developer Program.

            5.5 Mobile Device Management
            Mobile Device Management Apps that offer Mobile Device Management (MDM) services
            must request this capability from Apple. Such apps may only be offered by commercial
            enterprises (such as business organizations, educational institutions, or government
            agencies), and in limited cases, companies using MDM for parental control services or device
            security. You must make a clear declaration of what user data will be collected and how it will
            be used on an app screen prior to any user action to purchase or otherwise use the service.
            MDM apps must not violate any applicable laws. Apps offering MDM services may not sell,
            use, or disclose to third parties any data for any purpose, and must commit to this in their
            privacy policy. In limited cases, third-party analytics may be permitted provided that the
            services only collect or transmit data about the performance of the developerʼs MDM app,
            and not any data about the user, the userʼs device, or other apps used on that device. Apps
            offering configuration profiles must also adhere to these requirements. Apps that do not
            comply with this guideline will be removed from the App Store and you may be removed from
            the Apple Developer Program.
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             5.6 Developer Code of Conduct
             Please treat everyone with respect, whether in your responses to App Store reviews,
             customer support requests, or when communicating with Apple, including your responses in
             Resolution Center. Do not engage in harassment of any kind, discriminatory practices,
             intimidation, bullying, and donʼt encourage others to engage in any of the above.

             Customer trust is the cornerstone of the App Storeʼs success. Apps should never prey on
             users or attempt to rip-off customers, trick them into making unwanted purchases, force
             them to share unnecessary data, raise prices in a tricky manner, charge for features or
             content that are not delivered, or engage in any other manipulative practices within or outside
             of the app.

               5.6.1 App Store Reviews
               App Store customer reviews can be an integral part of the app experience, so you should
               treat customers with respect when responding to their comments. Keep your responses
               targeted to the userʼs comments and do not include personal information, spam, or
               marketing in your response.

               Use the provided API to prompt users to review your app; this functionality allows
               customers to provide an App Store rating and review without the inconvenience of leaving
               your app, and we will disallow custom review prompts.




           After You Submit
           Once youʼve submitted your app and metadata in App Store Connect and youʼre in the review
           process, here are some things to keep in mind:

             Timing: App Review will examine your app as soon as we can. However, if your app is
             complex or presents new issues, it may require greater scrutiny and consideration. And
             remember that if your app is repeatedly rejected for the same guideline violation or youʼve
             attempted to manipulate the App Review process, review of your app will take longer to
             complete. Learn more about App Review.

             Status Updates: The current status of your app will be reflected in App Store Connect, so
             you can keep an eye on things from there.

             Expedite Requests: If you have a critical timing issue, you can request an expedited review.
             Please respect your fellow developers by seeking expedited review only when you truly need
             it. If we find youʼre abusing this system, we may reject your requests going forward.

             Release Date: If your release date is set for the future, the app will not appear on the
             App Store until that date, even if it is approved by App Review. And remember that it can take
             up to 24-hours for your app to appear on all selected storefronts.

             Rejections: Our goal is to apply these guidelines fairly and consistently, but nobodyʼs perfect.
             If your app has been rejected and you have questions or would like to provide additional
             information, please use the Resolution Center to communicate directly with the App Review
             team. This may help get your app on the store, and it can help us improve the App Review
             process or identify a need for clarity in our policies. If you still disagree with the outcome, or
             would like to suggest a change to the guideline itself, please submit an appeal.

             Bug Fix Submissions: For apps that are already on the App Store, bug fixes will no longer be
             delayed over guideline violations except for those related to legal issues. If your app has been
             rejected, and qualifies for this process, please use the Resolution Center to communicate
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                                                  directly with the App Review team indicating that you would like to take advantage of this
                                                  process and plan to address the issue in your next submission.

                                            Weʼre excited to see what you come up with next!


                                            Last Updated: 11 Sep 2020




                    App Store      App Review        App Store Review Guidelines


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